Case 24-03611-jd   Doc 121   Filed 05/13/25 Entered 05/13/25 12:48:37   Desc Main
                             Document      Page 1 of 4




                                                                   Filed By The Court
                                                                  05/13/25 7:27 a.m.
                                                                   U.S. BANKRUPTCY COURT
                                                                 DISTRICT OF SOUTH CAROLINA
Case 24-03611-jd   Doc 121   Filed 05/13/25 Entered 05/13/25 12:48:37   Desc Main
                             Document      Page 2 of 4
Case 24-03611-jd   Doc 121   Filed 05/13/25 Entered 05/13/25 12:48:37   Desc Main
                             Document      Page 3 of 4
Case 24-03611-jd   Doc 121   Filed 05/13/25 Entered 05/13/25 12:48:37   Desc Main
                             Document      Page 4 of 4
